     Case 5:06-cr-40079-SAC     Document 150   Filed 04/02/08   Page 1 of 4




            IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

      Vs.                                       No. 06-40079-03-SAC

ROBERT GUZMAN a/k/a Vincent
Paul Martinez, et al.,

                        Defendant.


                       MEMORANDUM AND ORDER

             The case comes before the court on the defendant’s motion for

an order clarifying the status and disposition of funds paid to defense

counsel. (Dk. 140). The defendant seeks a court order declaring that

defense counsel may retain a fee deposit either because counsel is a bona

fide purchaser or because the government lacks probable cause to justify

the initial seizure of funds. The government opposes the motion asking the

court to disallow counsel from retaining the fee deposit and to appoint

current counsel in order to assure that counsel may continue to fulfill his

legal obligations with reasonable compensation. (Dk. 148). Neither side

requests a hearing on the motion, and the court believes one is

unnecessary at this point.
     Case 5:06-cr-40079-SAC     Document 150   Filed 04/02/08   Page 2 of 4




              According to the defendant’s motion, in the first or second week

of May of 2007, counsel received from Tony Tran Nguyen (“Nguyen”) a

third-party payment of $10,000.00 for legal fees to represent the defendant.

Counsel, however, did not learn until after the defendant’s arraignment on

May 22, 2007, that Nguyen had been added as a defendant by a sealed

indictment. On that same day, the prosecutor expressed concerns to

defense counsel about the lawfulness of the source of funds paid to

defense counsel. Following the advice of the Missouri Bar, defense

counsel then put the questioned fees into a trust account and continued to

represent the defendant. In the government’s initial discovery disclosures,

the defense counsel received a report of an interview of James Aaron who

told officers that the defendant had asked him to hold some currency,

which he suspected were proceeds from illegal activity, and that

approximately two weeks before May 22, 2007, Nguyen had taken

$13,000.00 of this currency. The defendant was arraigned on a third

superseding indictment in January of 2008 and received an additional

bundle of discovery. After reviewing the additional discovery, the

defendant entered a plea of guilty to the charges in the third superseding

indictment.


                                       2
     Case 5:06-cr-40079-SAC    Document 150    Filed 04/02/08   Page 3 of 4




            The third superseding indictment does not include a forfeiture

count. At the writing of this order, the parties have not made the court

aware of any proceedings wherein the government is immediately and

directly pursuing the forfeiture of any property as drug proceeds related to

this case. Thus, the court does not believe that the forfeiture of the legal

fees and all other issues related to this question have been properly raised

as to be ripe for decision.

            The court recognizes that a ruling now on the motion would

assist defense counsel in addressing an ethical obligation that eventually

must be resolved. It is not this court’s practice, however, to render

advisory opinions particularly when counsel appears to have responded in

good faith to the government’s notice and to have followed a course

consistent with his ethical and professional obligations. The court expects

the government will act with deliberate speed in bringing this forfeiture

issue before the court in a proper manner for disposition. At the same

time, the court appreciates that this delay places an ongoing financial

burden upon counsel that needs to be addressed. Thus, the court directs

defense counsel to secure a financial affidavit from his client in order that

the court may appoint counsel to represent the defendant from this date


                                       3
     Case 5:06-cr-40079-SAC    Document 150    Filed 04/02/08   Page 4 of 4




forward. The court may later consider a retroactive appointment, but it will

not make that determination until after the forfeiture of deposited legal fees

has been resolved by the parties or the court. See United States v.

McCorkle, 321 F.3d 1292, 1295 (11th Cir. 2003) (court may pro rate the

value of legal services performed while the attorney was a bona fide

purchaser).

              IT IS THEREFORE ORDERED that the defendant’s motion for

an order clarifying the status and disposition of funds paid to defense

counsel (Dk. 140) is denied.

              Dated this 2nd day of April, 2008, Topeka, Kansas.



                               s/ Sam A. Crow
                               Sam A. Crow, U.S. District Senior Judge




                                       4
